* fee

 

 

 

 

S@/E@'d

Case 1:07-cr-00986-WHP Document 24-9 Filed 05/10/2008 Page1 0f4

151106@3 11303 IGYGT;;O
Azeafg QIIAF

A@uzollv lsrz:§r@ JUPLELBSE
‘OSE ’Nvaelsns HTZEIHHVD =AA
A;unog xuqxg *Aeuxo:lv QU¥IQSEG
`©SE ‘NGSNHOQ 'l LHEAOH

33 3 9 N 3 H V 3 a d V
HENTTVL NVSHN ETEVHONOH 53 H 0 d 3 §

Looz '61 £@w
I§BGT XIOA MaN 'xuo:q
`199113 15191 1993 913

X'__.__-..__.~_-.______._.-\~.~__.....-----------~w-l~l--

ilNVHEHM HDHVHS V HO$ NDILVDIT&&V
j{ ______________________ *..,.._-,,. ___________
I~HV lHVé :NEEL TVNIWIHD =XNOHE 30 KLNUOD

HHOX MEN 30 ELVLS EHI 30 LHOOD TVNINIHG

 

l€G SZ:@T

53

73

234
12
OZ
er
ar
LI

9I

31
TT

01”

SQQZ-LE~SBM`

 

'\*@uze exx; nrgewo;n?-zwa§

!F.'meqz 91915 no£

 

Case1:07-cr-00986-WHP Document24-9 Filed 05/10/2008

13{v9

‘IoucH IHOA 's%; =HBIVH HEJI££O

1

lU

§§ -zaqz senatfeq uolca
*burueaw 'aq neu: eouelsqns pu@ mms uz panels au
;n?q: ueaw neun saop leqm 05 !LEDOD EHL
d ~axaqn
s@n:{ naqz ’l©uog IHOA *uorzéoo{ ama ar S: zeuz
T?WD?A?PUI BUJ ST SH ?HEIHH HEDI£AO
5ucxog 51 cum --
Q@éAarTaq eq qaq; aau@lsqns pu? mms MT pazens UDIOE
'srq: sr aeum =Ldnoo EHL
'ST Q¥ 393 =HEIVN HEDIJAO
5;33?;;0 'suo:;@nxesqo feuns:€d
::o£ mo paseq srq; QI mem =LHHOD EHI

`OP I 'SSA :HEIVN HHDIAAO

@Kxnflad

’N‘;Q du{@uad aau; xapun qun:: aqq are exam 01 unoqe

age nod asoqz fran se 1;A2p:;;a nod u: apew no£

guama;eqs sun ;Qqa reams no£ op ‘:a:;;;o ‘aseard

 

'pqu aubrl IRO£ @S¢Pa =Lanoo BHL

'Sex :szaasns 'sw
afa?@w ISD?;;O SF qul LHOA

519 Moq 'uaa:qsng 'Sw ‘TH ZLHDOD EH£

'u@axzzng VQH :NVEHLSRS `SN
` U,UEIIEM LXDEEBS

»? log uc::€v?rdd€ uE SF Srql raunoo aHL

 

§

§@/§@ `d _|_’SG

Page 2 of 4

ZZ
IZ
03
EE

91

91
91
er
EI
zr
rt

OT

O`I

 

SE:BI aa@élléééHw`"

 

 

 €

_4 Case 1:07-cr-00986-WHP Document 24-9 Filed 05/10/2008
129 /

'u@?;eoo{ uazcl; V ZHEIVH HEJI£BO
_* Ape$xxe sr auuam;:ede
aug asneoeq xooux-ou log Eujxge now ax@ mci ‘moN
"'qpezxem aq; gz;:mqnna 03 buzoé mg 1 as uo;ss;mp?
s‘;uepua;ap aqq fran se suc:i?nlasqo s,leo?;;d
aug ue peseq axaq abpajmouq pueq-L€z:; £T:Eafo

91 @:Qqn 'TTSM '=HE:H :lanoo gun

!~xouog xno£ 'ptp aq sa; :HEZVN HEDI£JO
gaylewozna_;mas w sam a:eqn zQul max 01

:uam@;eus a epem Bq DUP KEXO =LHHOD EHL

-xouoH xno£ ‘SBX ¥HEIVW HEJIJAU

¢£pozsno

"`N}` ur sr au uurod erma ne 03 :LHQOD EHL

'UOTREL$
@qn ne Mou nqbra =Hzlvw aaa:aao
amon anIx eq sp aIBqM ¢LHHOD IHL
wpaqsax:e nom ‘pauTE$QG =BEIVN HEDIJJO`
ipeuse:xe sam an :ng@g QHL

~Tn;m:@q aq prmsa legg zuaquede sun ux BuTMIKUE
SPM alequ ;? P@w€@ I =aalvw 3331330

`¢uo;a?mzo;u: :eqn ;0 uo:ssass¢d

mr amos noK prp mom lmra elr; oxaemoqnevrmas

§ sr exsql asq: saAa:zaq eu@n£:x€m Bu;mozb

sr KTpesoddns sr cum quamzzede aug ;o quedn:ao

UE lEqB PUELSIBDUH IEUOP I :lHDOU HHI

 

S@/V@'d l%G

Page 3 of 4

 

SE:@I

53
%Z
€E
33
IZ
03
51
91
LT
91
ST`

VI

BB@E-LZ~HUN

v 9@'§ M~@€ase 1:07-cr-00986-WHP Document 24-9 Filed 05/10/2008

 

 

 

99

xa;:ode§ nlno; jero:;;
£:Earj 911

   

/

‘ ‘UTWITM
uax?n aa;muTm ozqde:§oua;s aqn go ndyzssuaxu

amaxnnse pue anx: a eq 01 par;x:zag

x * $ »

 

\Cf§

~a:aq ub¢s prno§ nQK
: `;x ‘xa::;;o 'anu LWSTI ITH ¢&HGOQ HHI
‘a&pnp 'uos@al on :NVEHLSDS 'SN

isrql rees 01 messer Aue a:aql sr 'a{doaa
'u@qq '1q5yx rra '£Exo =Luno: HHJ
~uezo:a =HEIVN HEQIJJO

iam asnsxg :lHnOD HHL

 

§B/SB'd l?G

Page 4 of 4

QE:@I

 

\D

L{)

".f

q'¢

B@@E¥ZE¥SB¢Y“

